526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y    Document 239-15 Filed 04/26/24                        Page 156
                                                                       Page 1 of 41 PageID     of 337
                                                                                            7294

   We look forward to assisting you in scheduling your imaging test.

  /es/ Sharon Deo
  Medical Support Assistant
  Signed: 07/12/2022 15:02


                    Date/Time: 08 Jul 2022 @ 1527
                     Note Title: Letter to Patient
                      Location: No CA Healthcare Sys-Martinez
                     Signed By: JONES,SHEARON
                  Co-signed By: JONES,SHEARON
              Date/Time Signed: 08 Jul 2022 @ 1532

  Note


  LOCAL TITLE: Letter to Patient
  STANDARD TITLE: LETTERS
  DATE OF NOTE: JUL 08, 2022@15:27 ENTRY DATE: JUL 08, 2022@15:27:16
     AUTHOR: JONES,SHEARON        EXP COSIGNER:
    URGENCY:                  STATUS: COMPLETED


                               Department Of Veterans
  Affairs
                       VA Northern California Health Care System
  (VANCHCS)

  CLINIC ADDRESS:
  5342 Dudley Blvd., McClellan, CA 95652

  JULY 8, 2022



   ROBERT ALLEN ROSS




  Dear Mr. ROSS:

  Dr. Dulai, your primary care provider, wants you to know that the myocardial
  perfusion study completed on July 7, 2022 shows no perfusion defects
  suggestive of ischemia or a prior myocardial infarction. Your left ventricle
  ejection fraction is normal at 71%. There is a 9mm right upper lobe pulmonary
  groundglass opacity noted. Dr. Dulai recommends follow up with a CT scan in
  six months which has been ordered.
                                                                              APPENDIX 615
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                       Page 157
                                                                        Page 2 of 41 PageID     of 337
                                                                                             7295


  Impression:

     1. No evidence for reversible or fixed perfusion defects
     suggestive of ischemia or prior myocardial infarction is
     identified.

     2. Normal LV systolic function. LVEF = 71% (normal >= 50%).

     3. Incidental noncontrast CT findings include aortic and
     coronary artery atherosclerosis, 9 mm right upper lobe pulmonary
     groundglass opacity. Recommend follow-up CT at 6 months.


  Should you have questions, please call 1-800-382-8387.



   Sincerely,



   /es/ Shearon Jones, RN
     Nursing Service, Case Manager, Primary Care

  Patient Record Number 7366310



                      Date/Time: 07 Jul 2022 @ 1556
                       Note Title: Care Management Nursing Note
                        Location: No CA Healthcare Sys-Martinez
                       Signed By: JONES,SHEARON
                    Co-signed By: JONES,SHEARON
                Date/Time Signed: 07 Jul 2022 @ 1605

  Note


  LOCAL TITLE: Care Management Nursing Note
  STANDARD TITLE: CARE MANAGEMENT NURSING NOTE
  DATE OF NOTE: JUL 07, 2022@15:56 ENTRY DATE: JUL 07, 2022@15:56:51
     AUTHOR: JONES,SHEARON      EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

   *** Care Management Nursing Note Has ADDENDA ***

  COVID-19 Telephone Follow-Up
  Patient notified of positive COVID-19 test result.
   Symptoms:
                                                                             APPENDIX 616
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y     Document 239-15 Filed 04/26/24                         Page 158
                                                                         Page 3 of 41 PageID     of 337
                                                                                              7296
    The patient was asked if in the last 14 days they have had new onset of
    any COVID-19 symptoms. They report the following:
     Cough
      Comment: Patient began coughing on today.
     Headache
    Within the past 14 days, the patient reports no exposure to someone with a
    febrile/respiratory illness or someone with a known or suspected case of
    COVID-19 (within 6 feet for > 15 minutes).

   Care Disposition
    Positive COVID-19 must ISOLATE
    - Regardless of vaccination status
    - Day 0 is the first day of symptoms or a positive viral
      test. The count of days starts the next full day.
    - Asymptomatic patients may end isolation after 5 full days.
    - Symptomatic patients (mild/moderate illness) may end
      isolation after 5 full days if fever-free (without
      fever-reducing medication use) and symptoms have improved.

     Patient condition:
      Does not meet CDC guidelines to end isolation.
       - Discussed continued measures to avoid transmission and what to do
       if symptoms significantly worsen.

    Patient can care for self at home.

   Plan and Patient Education

    Patient was advised to notify contacts, including home health workers, of
    COVID positive exposure/status.

    Information provided on preventing the spread of COVID-19.
     - Stay at home except to get medical care that cannot be provided
       by a telephone or video visit.
     - Get rest and stay hydrated.
     - Call ahead before visiting your doctor.
     - Wear a facemask around others if you are sick.
     - Cover your coughs and sneezes.
     - Clean your hands often.
     - Keep a six-foot distance from others in your home, ideally in a
       separate room. Isolate in a private room, if available.
     - Avoid sharing household items.
     - Disinfect high touch surfaces daily, ideally with a product
       that kills cold and flu viruses.

   Time spent: 10 minutes

  /es/ Shearon Jones, RN
  Nursing Service, Case Manager, Primary Care
  Signed: 07/07/2022 16:05

  Receipt Acknowledged By:
                                                                                APPENDIX 617
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y     Document 239-15 Filed 04/26/24                         Page 159
                                                                         Page 4 of 41 PageID     of 337
                                                                                              7297
  07/07/2022 16:21    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care

  07/07/2022 ADDENDUM                  STATUS: COMPLETED
  Veteran request a note stating his Covid 19 (+) condition, so he can submit to
  his employer tomorrow (7/8/22).

  If possible please E-mail: 1RROSS@COMCAST.NET
  PH# - Cell: (

  Thank you,


  /es/ MICHELLE L RAWLINGS
  VISN 21 TLC/CCC, AMSA
  Signed: 07/07/2022 18:30

  Receipt Acknowledged By:
  07/12/2022 10:45    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care
  07/07/2022 19:15    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care

  07/07/2022 ADDENDUM                  STATUS: COMPLETED
  please write letter for employer. Also possibly someone else can pick up for
  him or we can do thru secure messaging?

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 07/07/2022 19:16

  Receipt Acknowledged By:
  07/08/2022 15:35    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care


                     Date/Time: 07 Jul 2022 @ 1412
                      Note Title: Holter Monitor Note
                       Location: No CA Healthcare Sys-Martinez
                      Signed By: SOUSA,MARIA FATIMA
                   Co-signed By: SOUSA,MARIA FATIMA
               Date/Time Signed: 07 Jul 2022 @ 1416

  Note


  LOCAL TITLE: Holter Monitor Note
  STANDARD TITLE: CARDIOLOGY PROCEDURE NOTE
  DATE OF NOTE: JUL 07, 2022@14:12 ENTRY DATE: JUL 07, 2022@14:12:52
     AUTHOR: SOUSA,MARIA FATIMA EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED
                                                                                   APPENDIX 618
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y     Document 239-15 Filed 04/26/24                          Page 160
                                                                          Page 5 of 41 PageID     of 337
                                                                                               7298

  ZIOPATCH INSTALL

  ROSS,ROBERT ALLEN was given a Ziopatch monitor per
  DULAI,KAMALPREET's request because of SYNCOPE.

  Ziopatch Serial Number: N891049874

  Device registered on the Ziopatch Company website? Yes

  Patient will remove device on Jul 21,2022 and mail in to the Ziopatch
  company using prepaid postage.

  /es/ Sousa, Maria
  Contractor, Medical Inst Tech/Cardiology, SAC
  Signed: 07/07/2022 14:16


                   Date/Time: 07 Jul 2022 @ 1215
                    Note Title: Screening Covid
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: LEMMONS,TAREZ
                 Co-signed By: LEMMONS,TAREZ
             Date/Time Signed: 07 Jul 2022 @ 1217

  Note


  LOCAL TITLE: Screening Covid
  STANDARD TITLE: INFECTIOUS DISEASE RISK ASSESSMENT SCREENING NOT
  DATE OF NOTE: JUL 07, 2022@12:15 ENTRY DATE: JUL 07, 2022@12:16
     AUTHOR: LEMMONS,TAREZ        EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Coronavirus Disease 2019 (COVID-19) Screen
  The patient was asked if in the last 14 days they have had new onset of any
  COVID-19 symptoms. They report the following:
   Cough
   Headache
   Muscle pain (Myalgias)
   Runny nose (Rhinorrhea)
  The patient reports close exposure (within 6 feet for more than 15 minutes) to
  someone with a febrile/respiratory illness within the last 14 days.

  Result:
   Patient has a positive symptom or exposure and requires further evaluation.
    Date of the earliest symptom:
     Date: July 4, 2022
  COVID-19 Secondary Screening
  The patient has the following previously known conditions which may mimic
  COVID-19 symptoms:
                                                                                 APPENDIX 619
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y    Document 239-15 Filed 04/26/24                       Page 161
                                                                      Page 6 of 41 PageID     of 337
                                                                                           7299
  None
  Plan:
  Home Care Instructions Reviewed, Tele/VVC appt scheduled with physician or
  advanced practice provider, Report to testing center for swabbing

  Veteran/caregiver verbalized an understanding of/agreed with the plan of care.
  Veteran/caregiver instructed to call VetsCONNECT or the PACT care manager for
  any future routine issues/concerns. Veteran/caregiver advised to call 911 for
  any potentially life threatening problems/conditions.

  COVID-19 Swab Testing
  Swab completed for Covid-19
   CDC Person Under Investigation (PUI) form completed and to lab w/specimen
    Symptoms: MA COUGH RN ST
  Plan: Discharged Home for Self-Quarantine, Post Swab Instructions Reviewed,
  Home Care Instructions Reviewed

  Veteran/caregiver verbalized an understanding of/agreed with the plan of care.
  Veteran/caregiver instructed to call VetsCONNECT or the PACT care manager for
  any future routine issues/concerns. Veteran/caregiver advised to call 911 for
  any potentially life threatening problems/conditions.

  /es/ TAREZ LEMMONS,BSN-RN,PMHN-BC
  NURSE,COVID-19,MATHER
  Signed: 07/07/2022 12:17


                   Date/Time: 07 Jul 2022 @ 0950
                    Note Title: Treadmill 30032
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: CHAN,IAN
                 Co-signed By: CHAN,IAN
             Date/Time Signed: 08 Jul 2022 @ 0946

  Note


  LOCAL TITLE: Treadmill 30032
  STANDARD TITLE: CARDIOLOGY PROCEDURE NOTE
  DATE OF NOTE: JUL 07, 2022@09:50 ENTRY DATE: JUL 07, 2022@09:51
     AUTHOR: CHAN,IAN          EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  ROSS,ROBERT ALLEN


  GENDER:MALE
  HEIGHT:68 in [172.7 cm] (07/26/2019 13:37)
  WEIGHT:170 lb [77.11 kg] (06/09/2022 10:06)

  REFERRING PROVIDER: Dulai, Kamalapreet
                                                                               APPENDIX 620
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y    Document 239-15 Filed 04/26/24                        Page 162
                                                                       Page 7 of 41 PageID     of 337
                                                                                            7300
  PROVIDER PERFORMING TEST: Sanchez, Irene
  TECHNICIAN: Andrey Melnik

  DATE OF TEST: Jul 7,2022

  REASON FOR TEST: CAD
  STRESS TEST PROTOCOL: LEXISCAN (pharmacologic)

  RESTING HEART RATE: 58 bpm
  MAXIMUM HEART RATE: 92 bpm
  RESTING BLOOD PRESSURE: 151/84mmHg

  ***********************************************************
  RESTING ECG:NSR, RAD
  CHEST PAIN: None
  ARRHYTHMIAS: None

  ST CHANGES: None

  ************************************************************
  CONCLUSIONS:
  resting HTN

  normal response to LExiscan infusion.

  *** SEE SEPARATE RADIOLOGY REPORT FOR NUCLEAR IMAGING RESULTS ***

  Preliminary data entered by Andrey Melnik, Jul 7,2022@09:51; data verified and
  edited for accuracy as necessary. Final interpretation and report by Ian Chan,
  MD.

  /es/ Ian Chan, MD
  Staff Physician, Cardiology
  Signed: 07/08/2022 09:46


                   Date/Time: 07 Jul 2022 @ 0747
                    Note Title: CONSENT CLINICAL IMED
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: CVIX,IMEDWEBUSER
             Date/Time Signed: 07 Jul 2022 @ 0747

  Note


  LOCAL TITLE: CONSENT CLINICAL IMED
  STANDARD TITLE: CONSENT
  DATE OF NOTE: JUL 07, 2022@07:47:13 ENTRY DATE: JUL 07, 2022@09:47:23
     AUTHOR: CVIX,IMEDWEBUSER EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

                                                                             APPENDIX 621
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                          Page 163
                                                                           Page 8 of 41 PageID     of 337
                                                                                                7301
   VistA Imaging - Scanned Document
  Signature Informed Consent for Heart - Stress Test Regadenoson MPI

  1. Anatomical Location: See description

  2. Informed consent was obtained at 9:25 AM on
    7/7/22.

  The full consent document can be accessed through Vista Imaging.

  3. Patient name: ROSS, ROBERT ALLEN

  4. The patient HAS decision-making capacity.

  5. Surrogate (if applicable):


  6. Reason for the treatment (diagnosis, condition, or indication):
    To evaluate the function of the heart muscle before and during stress. To
  detect and assess the risk of significant coronary artery disease. This test
  helps find blocked arteries to the heart muscle. This test provides a prognosis
  for those with known coronary blockage(s). This test will help estimate the
  risk to the heart of an upcoming surgery.

  7. Treatment/procedure: This procedure involves using myocardial perfusion
  imaging (MPI) to compare pictures of the heart at rest and during stress. A
  radioactive tracer is used. It is injected in the blood stream. It is taken up
  by
  living heart muscle cells. If these cells are able to take up the tracer, then
  that area of the heart will light up on the images. If there is a significant
  blockage in the heart arteries, or the heart muscle cells are damaged, then no
  tracer will be seen. This will produce a dark area on the images. By
  comparing the rest and stress images, your doctor can determine areas damaged or
  having decreased blood flow. Regadenoson is a medicine that stimulates the
  heart
  muscle without need for exercise. It works by enlarging the heart's blood
  vessels; allowing good flow through normal vessels and less blood flow through
  blocked ones. It is generally used for people who cannot tolerate exercise.

  Your provider will put an IV (small plastic tube) into a vein. This is
  usually in your arm. Your provider will also place small stickers on your skin.

  These are called electrodes. Your provider attaches these electrodes to a
  recording machine. This machine is called an electrocardiogram (ECG). This
  allows
  the provider to monitor your heart during the procedure. Your provider will
  inject a small amount of radioactive material through the IV. You will be asked
  to
  either sit or lie still in a nuclear camera. This will take pictures of your
  heart over 10-20 minutes.

  Your provider will then inject the Regadenoson through the IV. The
                                                                                    APPENDIX 622
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                         Page 164
                                                                          Page 9 of 41 PageID     of 337
                                                                                               7302
  radioactive material will be injected again. You will be asked to either sit or
  lie
  still in a nuclear camera. A second set of pictures will be taken over 10-20
  minutes. When the test is done, your provider will remove the electrodes and IV.




  8. No, neither anesthesia nor moderate sedation will be used in this
  treatment/procedure.
  9. Consent to Blood Products (if applicable):
    It is not expected that blood products will be used in this
  treatment/procedure.

  10. Practitioner obtaining consent: Irene Rachel Sanchez, NP

  11. Supervising practitioner:

  12. Practitioner(s) performing or supervising treatment/procedure (if
    not listed above):

  13. Witness Name(s):




  14. Comments:




                 *** SCANNED DOCUMENT ***
                 SIGNATURE NOT REQUIRED


   Electronically Filed: 07/07/2022
             by: IMEDWEBUSER CVIX




                     Date/Time: 02 Jul 2022 @ 0902
                      Note Title: Radiology Note
                       Location: No CA Healthcare Sys-Martinez
                      Signed By: SWAN,NEPHTERIA
                   Co-signed By: SWAN,NEPHTERIA
                                                                               APPENDIX 623
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y     Document 239-15 Filed 04/26/24                         Page 165
                                                                       Page 10 of 41 PageID    of 337
                                                                                            7303
             Date/Time Signed: 02 Jul 2022 @ 0903

  Note


  LOCAL TITLE: Radiology Note
  STANDARD TITLE: RADIOLOGY NOTE
  DATE OF NOTE: JUL 02, 2022@09:02 ENTRY DATE: JUL 02, 2022@09:03:01
     AUTHOR: SWAN,NEPHTERIA       EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

   *** Radiology Note Has ADDENDA ***

  EXAM CANCELLATION
  Date order was placed: Jun 9,2022
  The patient was scheduled to have a Ultrasound examination of the
   cartoid. This examination has been discontinued for the following
  reason: PAT NO SHOWED; REORDER IF STILL INDICATED.

  Thank you,
  Radiology/Nuclear Medicine Service

  /es/ Nephteria Swan
  Medical Support Assistant
  Signed: 07/02/2022 09:03

  Receipt Acknowledged By:
  07/04/2022 16:10    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care

  07/08/2022 ADDENDUM                   STATUS: COMPLETED
  please re order pt called wanting to schedule

  /es/ Nephteria Swan
  Medical Support Assistant
  Signed: 07/08/2022 15:36

  Receipt Acknowledged By:
  07/08/2022 16:27    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care


                   Date/Time: 19 Jun 2022 @ 1536
                    Note Title: Radiology Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: SWAN,NEPHTERIA
                 Co-signed By: SWAN,NEPHTERIA
             Date/Time Signed: 19 Jun 2022 @ 1538

  Note

                                                                             APPENDIX 624
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                         Page 166
                                                                        Page 11 of 41 PageID    of 337
                                                                                             7304


  LOCAL TITLE: Radiology Note
  STANDARD TITLE: RADIOLOGY NOTE
  DATE OF NOTE: JUN 19, 2022@15:36 ENTRY DATE: JUN 19, 2022@15:36:39
     AUTHOR: SWAN,NEPHTERIA       EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Northern California Health Care Systems Imaging Department
   JUN 19, 2022


    ROBERT ALLEN ROSS



   DEAR ROBERT ALLEN ROSS

  Our records indicate that you missed the below appointment(s):
    Date/Time: Jun 19,2022
    Clinic: Ultrasound
    Telephone: 916-364-3158 - Ultrasound, Mather/McClellan

  To reschedule this appointment, please contact the Radiology at
  the telephone number listed above - Monday through Friday, 8:00 AM to 4:30 PM,
  excluding holidays. Please contact us within 14 days of date of this letter to
  reschedule or your order will be cancelled due to being obsolete.

  If you are unable to keep future appointments, please call Radiology to cancel
  or reschedule your appointment. This will assist us in our efforts to assure
  timely access to care for all of our veterans.


  VA Northern California Health Care System
  Sacramento Medical Center
  10535 Hospital Way
  Mather, CA 95655

  /es/ Nephteria Swan
  Medical Support Assistant
  Signed: 06/19/2022 15:38


                   Date/Time: 16 Jun 2022 @ 1515
                    Note Title: Cardiology EKG Completion Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: SIMON,CAMILLE
                 Co-signed By: SIMON,CAMILLE
             Date/Time Signed: 16 Jun 2022 @ 1518

  Note
                                                                                   APPENDIX 625
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-15 Filed 04/26/24                       Page 167
                                                                       Page 12 of 41 PageID    of 337
                                                                                            7305


  LOCAL TITLE: Cardiology EKG Completion Note
  STANDARD TITLE: CARDIOLOGY DIAGNOSTIC STUDY NOTE
  DATE OF NOTE: JUN 16, 2022@15:15 ENTRY DATE: JUN 16, 2022@15:15:45
     AUTHOR: SIMON,CAMILLE       EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  The patient ID self by full name and DOB.

  EKG COMPLETION - NURSE/TECH
   EKG completed and given to Dr. Doctor. for review: Result: "Normal sinus
  rhythm, normal ECG."

  Provided patient with updated list of upcoming appointments.

  Patient declined shingrix vaccine at this time.

  /es/ CAMILLE SIMON
  Primary Care, MCC
  Signed: 06/16/2022 15:18


                    Date/Time: 14 Jun 2022 @ 0848
                     Note Title: Letter to Patient
                      Location: No CA Healthcare Sys-Martinez
                     Signed By: JONES,SHEARON
                  Co-signed By: JONES,SHEARON
              Date/Time Signed: 14 Jun 2022 @ 0911

  Note


  LOCAL TITLE: Letter to Patient
  STANDARD TITLE: LETTERS
  DATE OF NOTE: JUN 14, 2022@08:48 ENTRY DATE: JUN 14, 2022@08:48:18
     AUTHOR: JONES,SHEARON        EXP COSIGNER:
    URGENCY:                  STATUS: COMPLETED


                                Department Of Veterans
  Affairs
                        VA Northern California Health Care System
  (VANCHCS)

  CLINIC ADDRESS:
  5342 Dudley Blvd., McClellan, CA 95652

  JUNE 14, 2022


                                                                              APPENDIX 626
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-15 Filed 04/26/24                        Page 168
                                                                        Page 13 of 41 PageID    of 337
                                                                                             7306

   ROBERT ALLEN ROSS
   4701 HAYLOFT COURT




  Dear Mr. ROSS:

  Per our conversation, your LDL (low-density lipoprotein), which is sometimes
  called "bad" cholesterol, is not at goal. Per your agreement,
  medication
  Atorvastatin 40mg is being mailed to you to take orally daily.

  Your hemoglobin A1c, which tells us what your average blood sugar has been
  over the three months prior to the blood draw, is 6% and the normal range is
  4.1-5.7%. Please monitor your diet by eating healthy carbohydrates such as
  fruits, vegetables, whole grains, legumes and low-fat dairy products. Avoid
  less healthy carbohydrates such as foods or drinks with added fats, sugars and
  sodium. Choose healthy carbohydrates, fiber-rich foods, fish and
  "good" fats.

  Your potassium is higher than normal. Please avoid foods with high potassium
  like avocados, bananas, oranges, grapefruit juice, green leafy vegetables and
  melons of all kinds.

  Your B12 is still low. As we discussed, you just started taking the Vitamin
  B12 supplement daily. Fasting labs are ordered for you to complete in three
  months (September 2022).

  Should you have questions, please call 1-800-382-8387.

   Sincerely,



   /es/ Shearon Jones, RN
     Nursing Service, Case Manager, Primary Care

  Patient Record Number 7366310



                      Date/Time: 09 Jun 2022 @ 1420
                       Note Title: PCMHI Primary Care Mental Health Consult
                        Location: No CA Healthcare Sys-Martinez
                       Signed By: ARANETA,ANGELA M
                    Co-signed By: ARANETA,ANGELA M
                Date/Time Signed: 09 Jun 2022 @ 1505

  Note
                                                                                 APPENDIX 627
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y        Document 239-15 Filed 04/26/24                       Page 169
                                                                        Page 14 of 41 PageID    of 337
                                                                                             7307


  LOCAL TITLE: PCMHI Primary Care Mental Health Consult
  STANDARD TITLE: MENTAL HEALTH CONSULT
  DATE OF NOTE: JUN 09, 2022@14:20 ENTRY DATE: JUN 09, 2022@14:21:04
     AUTHOR: ARANETA,ANGELA M EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

   *** PCMHI Primary Care Mental Health Consult Has ADDENDA ***

  Primary Care Mental Health Integration (PC-MHI) Assessment

  Patient Identification: Patient is a 62 year old, DECLINED TO ANSWER MALE.

  Veteran is seen by PC-MHI as part of the Patient-Aligned Care Team (PACT).


  DS - Disabilities
  Eligibility: SC LESS THAN 50%              VERIFIED
  Total S/C %: 30

  LIMITED FLEXION OF KNEE                      10%
  S/C
  KNEE CONDITION                           10%
  S/C
  LIMITED FLEXION OF KNEE                      10%
  S/C

  SCREENINGS/MEASURES:
  PHQ-9:
  MHAS - PHQ9 SCORE
  Date             Instrument Raw Trans Scale
  06/09/2022 11:39          PHQ9 20      PHQ9 GAD-7:
  MHAS - MHA Score
  Date             Instrument Raw Trans Scale
  06/09/2022 11:39         GAD-7 14      Anxiety


  REFERRED BY: Dr. Dulai
  REASON FOR REFERRAL: depression and passive SI
  VISIT DURATION (minutes): 30 mins

  Veteran's primary concern(s) (duration, frequency, intensity, triggering
  events, etc.): Vet described "so much going on in my mind" along with
  chronic
  conflict in his work place that have led him to symptoms of depression, anxiety,

  and passive suicidal ideation (without intent or plan). He described a 2 year
  lawsuit against the union which has been led to chronic stress. He also
  mentioned tension in his marriage surrounding finances and parenting styles.
   _________________________________________________________________
   __________________________________________________________________________
  FUNCTIONAL ASSESSMENT:
                                                                                APPENDIX 628
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                          Page 170
                                                                         Page 15 of 41 PageID    of 337
                                                                                              7308

  Sleep:
      p Problems with sleepp tossingg and turning.
                                                 g His flight
                                                          g scheduled vary which
  also exacerbates sleep.        p separately
                       p He sleeps     p      y from his wife due to his
  restlessness- wakes multiple times per night- estimates no more than 5 hours of
  sleep on average

  Work: Described stress related to his occupation as a flight attendant. He was a

  former union leader but now is involved in a lawsuit against the union. He feels

  others have been spreading false information about him on social media.

  Close relationships:
                    p Todayy was his 22nd weddingg anniversary. He described his
         g as "ŽŬĂǇ." He stated that their finances
  marriage
  and create
  strain for his wife. He also noted divergent
                                          g    parenting
                                               p       g styles
                                                           y for their two
  children who are currentlyy in college. He expressed dissatisfaction that their
  son is not held accountable


  __________________________________________________________________________
  Brief summary of past mental health treatment (e.g. therapy, medication,
  hospitalization, inpatient treatment, etc.):
  He was seen for a comp assessment in 2015. He was prescribed 50mg Sertraline-
  took it for a couple months but he did not feel it made much of a difference.
  __________________________________________________________________________
  Substance use history:
  One glass of wine on occasion at night. Denied tobacco or drug use.
  __________________________________________________________________________
  RISK ASSESSMENT:
  Suicidal/Homicidal/Assaultive Ideation/Intent/Plan:
  Yes- passive SI in the context of being overwhelmed by situational stress
  stressors- denied intent or plan
  CSSRS was negative

  Columbia Suicide Severity Rating Scale (C-SSRS)



   Date Given: 06/09/2022
   Clinician: Colemon,Vivian Denise
   Location: Nsac Pact Green

   Veteran: Ross,Robert Allen
   SSN: xxx-xx-5153
   DOB:             (62)
   Gender: Male


   Suicidal Ideation in Past Month: Yes - Suicidal thoughts

   Method/Plan/Intent in Past Month: No method, no specific plan, and no intent
                                                                                APPENDIX 629
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-15 Filed 04/26/24                         Page 171
                                                                         Page 16 of 41 PageID    of 337
                                                                                              7309

   Suicidal Behavior: No Past Suicidal Behavior Reported


   KEY INDICATORS:


   Questions and Answers:

    1. Over the past month, have you wished you were dead or wished you could go
  to sleep and not wake up?
    Yes
    2. Over the past month, have you had any actual thoughts of killing yourself?

   Yes
   3. Over the past month, have you been thinking about how you might do this?
   No
   4. Over the past month, have you had these thoughts and had some intention of

  acting on them?
    No
    5. Over the past month, have you started to work out or worked out the
  details of how to kill yourself?
    No
    6. If yes, at any time in the past month did you intend to carry out this
  plan?
    Not asked (due to responses to other questions)
    7. In your lifetime, have you ever done anything, started to do anything, or
  prepared to do anything to end your life (for example, collected pills, obtained

  a gun, gave away valuables, went to the roof but didn't jump)?
    No
    8. If yes, was this within the past 3 months?
    Not asked (due to responses to other questions)



  __________________________________________________________________________
  MENTAL STATUS EXAM:
    Appearance: older Caucasian male with short straight white male, average
  build, well groomed
    Demeanor: engaged, animated, talkative
    Mood: depressed and anxious
    Affect: full, congruent with content
    Psychotic symptoms/Thought content: no psychosis; thought content focused on
  stressors
    Cognitive deficits/Memory Impairment: recent problems with attention and
  focus; not formally assessed today
    Judgment/Insight: fair/limited
  __________________________________________________________________________
  DIAGNOSTIC IMPRESSIONS:
  Depressive Disorder; Anxiety
                                                                                 APPENDIX 630
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                          Page 172
                                                                         Page 17 of 41 PageID    of 337
                                                                                              7310
   __________________________________________________________________________
  INTERVENTION:
  Psychotherapy: Symptom review, functional assessment, risk assessment,
  medication use, ideas for managing stress, overview of treatment options

  Limits of confidentiality, risks, benefits, and side effects of psychiatric
  medications and/or therapy were discussed with the patient. The patient
  expressed understanding and the willingness to take medications and/or engage
  in treatment.

  Veteran provided with Mental Health contact information and information for
  accessing emergency services (Veterans Crisis Line, 1-800-273-8255, VA or
  local
  hospital).

  Veteran's questions and/or concerns were addressed.

  FOLLOW-UP PLAN:
  Referral to other Mental Health services: GMH Consult for therapy and
  medications placed today

  Vet is open to medication trial. Will consult with Dr. Nuismer regarding
  medication options

  Action Plan for Veteran: Encouraged him to limit time spent on social media.
  Gave him VCL magnet and encouraged him to reach out as needed

  /es/ Angela M. Araneta, PsyD
  Mental Health, Clinical Psychologist
  Signed: 06/09/2022 15:05

  Receipt Acknowledged By:
  06/10/2022 08:49    /es/ Amy Nuismer, MD
                Psychiatry, Family Practice/Women's Health


  06/10/2022 ADDENDUM                     STATUS: COMPLETED
  Chart reviewed and case disussed with Dr. Araneta. Only previous medication
  trial of Zoloft but not adequate trial in terms of dose nor length of tx.
  Recommend re-trial and titrating up dose as needed to reach effect.

  /es/ Amy Nuismer, MD
  Psychiatry, Family Practice/Women's Health
  Signed: 06/10/2022 08:50


                     Date/Time: 09 Jun 2022 @ 1010
                      Note Title: Preventive Health Screen 11514
                       Location: No CA Healthcare Sys-Martinez
                      Signed By: COLEMON,VIVIAN DENISE
                   Co-signed By: COLEMON,VIVIAN DENISE
                                                                                 APPENDIX 631
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                         Page 173
                                                                        Page 18 of 41 PageID    of 337
                                                                                             7311
             Date/Time Signed: 09 Jun 2022 @ 1022

  Note


  LOCAL TITLE: Preventive Health Screen 11514
  STANDARD TITLE: PREVENTIVE MEDICINE RISK ASSESSMENT SCREENING NO
  DATE OF NOTE: JUN 09, 2022@10:10 ENTRY DATE: JUN 09, 2022@10:11:03
     AUTHOR: COLEMON,VIVIAN DENI EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Clinical Reminders:
   Medication Inventory:
     Does the VA medication list below reflect EXACTLY what the patient and/or
     caregiver state the patient is taking (including non-VA prescriptions, over
     the counter medications, vitamins and herbal supplements)?
      Unable to review with patient/caregiver due to the following reason:
       -Other: Review with pcp.

    Allergies:
    ERYTHROMYCIN, VICODIN, DARVOCET-N
    Active and Recently Expired Outpatient Medications (excluding Supplies):

      Active Outpatient Medications           Status
    =========================================================================
    1) CHOLECALCIF 50MCG (D3-2,000UNIT) TAB TAKE TWO TABLETS ACTIVE
        BY MOUTH ONCE DAILY FOR 4 WEEKS, THEN TAKE ONE
        TABLET ONCE DAILY FOR VITAMIN D SUPPLEMENT
    2) CYANOCOBALAMIN 500MCG TAB TAKE ONE TABLET BY MOUTH ACTIVE
        ONCE DAILY FOR VITAMIN B-12 SUPPLEMENT
    3) DICLOFENAC NA 1% TOP GEL APPLY 2 GRAMS TOPICALLY FOUR ACTIVE
        TIMES A DAY USE DOSING CARD PROVIDED TO MEASURE
        DOSE. DON'T EXCEED 16 GRAMS DAILY TO A JOINT OF THE
        LOWER BODY. DON'T EXCEED 8 GRAMS DAILY TO A JOINT
        OF THE UPPER BODY. DON'T EXCEED A TOTAL DOSE OF 32
        GRAMS PER DAY. FOR PAIN AND INFLAMMATION No Active Remote
    Medications for this patient
   Nutrition Screening:
    Most recent measurements:
    Measurement DT WEIGHT
              LB(KG)[BMI]
    06/09/2022 10:06 170(77.11)[26]
    09/15/2020 12:27 167(75.75)[25]
    07/26/2019 13:37 165(74.84)[25]
    08/17/2015 11:24 164(74.39)[25]

    Ht. 68 in [172.7 cm] (07/26/2019 13:37)
    BMI 25.9
   Depression Screening:
     Perform PHQ-2
        A PHQ-2 screen was performed. The score was 6 which is a positive
        screen for depression.
                                                                                   APPENDIX 632
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                       Page 174
                                                                      Page 19 of 41 PageID    of 337
                                                                                           7312

       Over the past two weeks, how often have you been bothered by the
       following problems?

       1. Little interest or pleasure in doing things
       Nearly every day

       2. Feeling down, depressed, or hopeless
       Nearly every day

   Licensed Independent Provider notified of positive screen and need for
   follow-up.
    Name of provider notified: Dr. Dulai,Kamalpreet
  Braden Skin Risk Assessment:
   No impairment or abnormality in sensory perception, moisture, activity,
   mobility, nutrition, or friction.
  Emotional Health Screening (Nurse):
   The Veteran states they have worry or stress in their life.
      Source of concern: anxiety, anger issues, financial issues.
    Acknowledged Veterans concerns about their emotional health.
    Patient to discuss with provider in appointment today.
  MOVE! Screening- Overweight/Obesity:
   Calculated BMI: 25.9 Weight: 170 lb [77.11 kg] (06/09/2022 10:06)
   Educated on the health risks of overweight/obesity including:
     heart disease|hypertension
    The patient was educated on the available weight management programs and
    declines treatment at this time.
   The patient has not participated in an organized weight management program
   in the past year.
  Vitals:
   Most recent VS: Wt. 170 lb [77.11 kg] (06/09/2022 10:06)
              BP 137/83 (06/09/2022 10:06)
              HR 67 (06/09/2022 10:06)
             Temp 98.8 F [37.1 C] (06/09/2022 10:06)
              BMI 25.9
  Barriers to Education Not Recorded:
      The patient has a potential barrier to learning due to a visual
      limitation.
  Suicide Screen:
   C-SSRS Screening
      Columbia Suicide Severity Rating Scale (C-SSRS) screener
        1. Over the past month, have you wished you were dead or wished you
        could go to sleep and not wake up?
        Yes

      2. Over the past month, have you had any actual thoughts of killing
      yourself?
      Yes

      3. Over the past month, have you been thinking about how you might do
      this?
      No
                                                                            APPENDIX 633
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y        Document 239-15 Filed 04/26/24                           Page 175
                                                                            Page 20 of 41 PageID    of 337
                                                                                                 7313

         4. Over the past month, have you had these thoughts and had some
         intention of acting on them?
         No

         5. Over the past month, have you started to work out or worked out
         the details of how to kill yourself?
         No

         6. If yes, at any time in the past month did you intend to carry out
         this plan?
         Response not required due to responses to other questions.

         7. In your lifetime, have you ever done anything, started to do
         anything, or prepared to do anything to end your life (for example,
         collected pills, obtained a gun, gave away valuables, went to the
         roof but didn't jump)?
         No

       8. If YES, was this within the past 3 months?
       Response not required due to responses to other questions.
   Opioid Risk Tool:
    OPIOID RISK TOOL (ORT)
     Family history of substance abuse:
      0 - None
     Personal history of substance abuse:
      0 - None
     Age:
      0 - Age greater than 45      (This patient's age is 62)
     Psychological Disease:
      2 - Attention Deficit Disorder, Obsessive Compulsive Disorder,
         Bipolar, Schizophrenia

     Risk Category: Low Risk (0-3)
      Total score:
       2

  /es/ Vivian Denise Colemon, LVN
  Nursing Service, Specialty Clinic
  Signed: 06/09/2022 10:22


                     Date/Time: 09 Jun 2022 @ 0953
                      Note Title: Primary Care Note
                       Location: No CA Healthcare Sys-Martinez
                      Signed By: DULAI,KAMALPREET
                   Co-signed By: DULAI,KAMALPREET
               Date/Time Signed: 09 Jun 2022 @ 1148

  Note

                                                                                  APPENDIX 634
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                          Page 176
                                                                         Page 21 of 41 PageID    of 337
                                                                                              7314


  LOCAL TITLE: Primary Care Note
  STANDARD TITLE: PRIMARY CARE NOTE
  DATE OF NOTE: JUN 09, 2022@09:53 ENTRY DATE: JUN 09, 2022@09:53:33
     AUTHOR: DULAI,KAMALPREET EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

   *** Primary Care Note Has ADDENDA ***

  C/C: f/u


  HPI: Pt is a 62yo here today for reg med follow up with followign issues:
  1. Phlegmy cough since 1/2020, believes he might have had COVID. Has had
  vaccinations. Not hydrating and also has cramps in hands, LE as well. Using
  flonase PRN. NO fever with this, no SOB. Continues to have it, and clearing
  throat, does nto smoke, was not consistent with flonase.

  2. continues to have a lot of stress at work. Works as flight attendant, has
  law suit going on,stress on family, cannot concentrate at work, thinks about SI
  daily. Wants to sleep and not wake up, but no plan drawn out on how to do it.
  Has 2 kids in college. +depression.

  3. Passed out yesterday in the garden, does not hydrate. States woke up to wife

  calling his name, denies CP or SOb, no palpitations, however has been having
  worsenign memory for some time now. No fever. no loss of bowel or urination,
  no tongue biting or shaking noted by wife.

  4. +urgnecy and strainign to urinate, waking up multiple times to urinate.


  PMH:
  Computerized Problem List is the source for the following:

  1. Cough                             09/30/20 BUCAYCAY,ELEANO
  2. Knee pain                          08/26/20 BUCAYCAY,ELEANO
  3. Depressive episode                      08/31/15 WEBER,DIANE ELL
  4. General Anxiety                       08/31/15 WEBER,DIANE ELL
  5. Varicose veins of lower extremity (SNOMED CT       08/04/14 TAYLOR,JEFFERY
  72866009)
  6. Impaired Fasting Glucose (ICD-9-CM 790.21)        04/24/13 DOCTOR,FEDERICO
  7. GERD * (ICD-9-CM 530.81)                   04/24/13 DOCTOR,FEDERICO
  8. DJD, Knee/Lower Leg                      03/04/13 TAYLOR,JEFFERY
  9. CMP INT ORT DEV/GFT NOS                      03/04/13 TAYLOR,JEFFERY
  10. Low Back Pain * (ICD-9-CM 724.2)             08/09/12 DOCTOR,FEDERICO
  11. Hearing loss * (ICD-9-CM 389.9)             05/24/10 DOCTOR,FEDERICO
  12. Hyperlipidemia                        06/30/08 WOO,JOSEPH C
  13. Pain in joint involving lower leg (ICD-9-CM    06/27/08 WOO,JOSEPH C
  719.46)
  14. Tear of lateral cartilage or meniscus of knee, 06/27/08 WOO,JOSEPH C
                                                                                APPENDIX 635
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                     Page 177
                                                                    Page 22 of 41 PageID    of 337
                                                                                         7315
  current (ICD-9-CM 836.1)



  Medications:
  see med list


  Immunizations:
  PCE IMMUNIZATIONS
  Immunization               Series Date   Facility Reaction Info

  COVID-19 (MODERNA), MRNA, LNP-S,* 2 03/27/2021 El Dorado*
                 1 02/27/2021 EL DORADO *

  INFLUENZA, INJECTABLE, QUADRIVALE*         10/06/2020 MCCLELLAN *

  TD(ADULT) UNSPECIFIED FORMULATION           06/00/2005 No Site

  TDAP                       07/26/2019 MCCLELLAN *

  PCE HEALTH FACTORS SELECTED
        IMMUNIZATION [C]
  08/17/2015 Refused Td / Tdap / Dtap
  07/18/2014 Refused Td / Tdap / Dtap
  04/24/2013 Refused Influenza Immunization
  03/07/2012 Refused Influenza Immunization
         Refused Td / Tdap / Dtap
  02/24/2011 Refused Influenza Immunization
  05/24/2010 Refused Influenza H1n1
         Refused Influenza Immunization
  12/18/2008 Refused Td / Tdap / Dtap

  ROS:
  CONSTITUTIONAL: No weight loss, fever, chills, weakness or fatigue.
  HEENT: Eyes: No visual loss, blurred vision, double vision or yellow sclerae.
  Ears, Nose, Throat: No hearing loss, sneezing, congestion, runny nose or sore
  throat.
  SKIN: No rash or itching.
  CARDIOVASCULAR: No chest pain, chest pressure or chest discomfort. No
  palpitations or edema.
  RESPIRATORY: No shortness of breath, cough or sputum.
  GASTROINTESTINAL: No anorexia, nausea, vomiting or diarrhea. No abdominal pain
  or blood.
  NEUROLOGICAL: syncope
  MUSCULOSKELETAL: No muscle, back pain, joint pain or stiffness.
  PSYCHIATRIC: depression or anxiety.



  PE: A/A/O x3, NAD, WN, WD. VS reviewed
  HEENT: Head is normocephalic. The sinuses are nontender. Pupils are equal and
                                                                           APPENDIX 636
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                  Page 178
                                                                 Page 23 of 41 PageID    of 337
                                                                                      7316

  reactive. The nares
  are patent. Oropharynx reveals clear without lesions.
  HEART: Regular rate and rhythm.
  LUNGS: No crackles or wheezes are heard. CTAB
  EXTREMITIES: Without cyanosis, clubbing or edema.
  NEUROLOGICAL: Gross nonfocal.
  Skin: Warm and dry without any rash.
  Musculoskeletal: FROM, no deformities noted

  Pertinent Labs:
  Collection DT Spec CHOL TRIGLYC HDL LDL-CHO
  12/08/2021 12:52 PLASM 260 H 171 H 50 176 H
  08/20/2020 10:36 PLASM 234 H 285 H 38 L 139
  SCL1 - Partial CBC
  Collection DT Spec WBC HGB HCT MCV MCHC PLT
  12/08/2021 12:53 BLOOD 6.7 15.8 48.0 90.4 32.9 360
  SCL1 - Lab Cum Selected 1
  Collection DT Spec NA     K CL CO2 CALCIUM
  12/08/2021 12:52 PLASM 137 4.2 101 27 9.5

  SCL2 - Lab Cum Selected 2
  Collection DT Spec GLUCOSE BUN CREAT eGFR
  12/08/2021 12:52 PLASM 100 15 0.90 >60
  08/20/2020 10:35 PLASM 117 19 1.10 >60

  SCL3 - Lab Cum Selected 3
  Collection DT Spec PROTEIN ALBUMIN T. BIL D BILI ALK PHO AST    ALT
  12/08/2021 12:52 PLASM 7.7 4.9 H 0.8         60 24 26
  HbA1c-last 3
  Collection DT Spec HGBA1c
  12/08/2021 12:53 BLOOD 6.0 H
  07/26/2019 14:54 BLOOD 5.9 H
  SCL1 - PSA
  Collection DT Spec PSA
  12/08/2021 12:53 SERUM 1.23
  07/25/2019 10:35 SERUM 1.04
  08/06/2015 13:38 SERUM 0.79
  07/16/2014 11:17 SERUM 0.68
  05/13/2010 11:26 SERUM 0.69
  SCLU - TSH
  Collection DT Spec Tsh
  12/08/2021 12:53 SERUM 3.26
  08/20/2020 10:35 SERUM 3.51

  Patient
  Patient Sex: M
  Total Cholesterol: 260 mg/dL (12/8/2021)
  HDL Cholesterol: 50 mg/dL (12/8/2021)
  Blood Pressure: 123/70
  Smoking status evaluates as: Non-Smoker
  Blood pressure treatment evaluates as: Untreated SBP
                                                                        APPENDIX 637
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y         Document 239-15 Filed 04/26/24                        Page 179
                                                                          Page 24 of 41 PageID    of 337
                                                                                               7317
  Diabetes evaluates as: Non-Diabetic

  10-year CV risk: 11.7%
  10-year CV risk for an African-American: 8.9%


  A/p:

  1. L knee pain s/p 3 surgeries, pain is now worsening, pt is SC for this.
  -saw ortho 4/2022, deciding to hold off on any surgeries at this time and if in
  future desired, will make appt for possible arthrscopy again
  -NSAID PRN, use sparingly to avoid HTN
  -diclofenac gel PRN
  -FMLA paperwork done 12/2021

  2. allerigc rhinitis/Cough: chronic, likely PND, encourage hydration and flonase

  and zyrtec daily for 4 weeks and if not helping, Update PC to refer to ent
  -check cxr today

  3. BPH w/luts: will try Flomox 0.4mg daily

  4. L cataract: will f/u with eye clnic

  5. Low B12: on supplement

  6. Vitamin D: on supplement

  7. A1c in PreDm: lifestyle changes, pending now

  8. Hyperlipidemia: LDL not at goal 12/2021, watch diet and repeat now

  9. Syncopal episode? stress rxn, dehydraton vs cards?
  -worseing memory, likely due to increased stress, refer to PCHMI today
  -ekg, carotid US, echocardiogram, MRI brain, NMPS, ziopatch ordered
  -if happens again, will need to go to ER immediately.
  -cotninue hydration as well

  10. +SI to provider, states thoughts of SI daily, no plan
  -increased stress at work, warm hand off to PCHMI today




  HCM:
  Colon Ca screening: last Cscope done 2011 and wnl, FIT neg 2/2022
  Labs pending
  Immunizations: shingrix #1 hold off today
  f/u in 3 months or sooner PRN



                                                                                    APPENDIX 638
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-15 Filed 04/26/24                           Page 180
                                                                           Page 25 of 41 PageID    of 337
                                                                                                7318




  Clinical Reminders:
   Emotional Health Screening (Provider):
     Patient screened positive for emotional health concerns with nurse.

          REMINDER FACTORS [C]
    06/09/2022 Worry/Stress Life Yes

            anxiety, anger issues, financial issues.


    Acknowledged Veterans concerns about their emotional health. Resources
    Offered to Veteran: Primary Care Mental Health Integration (PCMHI: Insomnia
    Class, Depression, etc)
   Follow-Up Pos PTSD/Depression:

    I have reviewed the results of the Mental Health screens and have evaluated
    the patient. Based on the evaluation, the following disposition plan will
    be implemented:
      Patient to be evaluated by Mental Health
       Stat/Emergent Mental Health Evaluation needed.
        Comment: warm hand off to PCHMI
   Medication Reconciliation:

    Med Rec performed with patient/caregiver:
     -Home meds compared with CPRS meds
     -Medication allergies (local and remote) reviewed
     -Discrepancies, if any, discussed with patient/caregiver
     -Changes, if any, addressed in "Plan" section of visit note and
       reflected in CPRS medication list
     -Patient/caregiver provided with an updated medication list (or
       written instructions provided for minor med changes)
     -Education provided regarding managing personal medication
       information, including carrying an updated med list at all times

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 06/09/2022 11:48

  06/13/2022 ADDENDUM                        STATUS: COMPLETED
  please let pt know LDL not at goal, rec starting atorvastatin 40mg, if
  agreeable, please pend for me
  HbA1c is at 6,needs to monitor with diet, low processed sugar/carb diet
  K is higher than normal, please avoid foods with high K like avocado and banana
  b12 is still low, if taking it daily, must double it. and repeat in 3 months and

  if still low, may need injections monthly

  /es/ Kamalpreet Dulai, MD
                                                                                 APPENDIX 639
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-15 Filed 04/26/24                          Page 181
                                                                          Page 26 of 41 PageID    of 337
                                                                                               7319
  Physician, Primary Care
  Signed: 06/13/2022 09:18

  Receipt Acknowledged By:
  06/14/2022 09:37    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care

  06/13/2022 ADDENDUM                   STATUS: COMPLETED
  Called patient and he was identified using 2/3 patient identifiers (full name,
  full soc sec number, birth date).

  Mr. Ross was informed that his LDL is not at goal. He agrees to start taking
  medication Atorvastatin 40mg daily.

  He was informed that his hemoglobin A1c, which tells what your average blood
  sugar has been over the three months prior to the blood draw, was 6% when
  checked on June 9, 2022 and that the normal range is 4.1-5.7%. He was
  encouraged to monitor his diet and to have meals and snacks with vegetables,
  fruits, lean meats or other healthy proteins, whole grains, and low-fat or
  nonfat dairy products.

  Mr. Ross was told that his potassium is higher than normal and to avoid avocados

  and bananas.

  He was also informed that his vitamin B12 is low and states that he just began
  taking the vitamin B12 supplement daily. He will repeat labs in three months.

  Provider to be informed.


  /es/ Shearon Jones, RN
  Nursing Service, Case Manager, Primary Care
  Signed: 06/13/2022 14:17

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Cosigned: 06/13/2022 14:22

  07/07/2022 ADDENDUM               STATUS: COMPLETED
  Please let pt know NMPS shows no perfusion defects suggestive of ischemia or
  prior MI. Normal LVEF at 71%.
  There is 9mm R upper lobe pulm groundglass opacity noted, i rec followup with CT

  in 6 months, ordered.


  Impression:


     1. No evidence for reversible or fixed perfusion defects
     suggestive of ischemia or prior myocardial infarction is
                                                                                   APPENDIX 640
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                         Page 182
                                                                        Page 27 of 41 PageID    of 337
                                                                                             7320
     identified.

     2. Normal LV systolic function. LVEF = 71% (normal >= 50%).

     3. Incidental noncontrast CT findings include aortic and
     coronary artery atherosclerosis, 9 mm right upper lobe pulmonary
     groundglass opacity. Recommend follow-up CT at 6 months.


  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 07/07/2022 15:14

  Receipt Acknowledged By:
  07/12/2022 11:30    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care

  07/22/2022 ADDENDUM                    STATUS: COMPLETED
  please let pt know ziopatch is overall benign, no arrythmia cause noted for
  syncope, no afib noted, good news!

  CONCLUSIONS:
  1. Predominant rhythm is Sinus with an avg rate of 79 bpm, range: 51-155 bpm.
  2. Triggered events and diary entries do not correlate with significant
  arrhythmia.
  3. No Atrial Fibrillation seen for period observed.
  4. No pauses or significant bradyarrhythmia observed.
  5. Overall, benign Ziopatch. No arrhythmogenic cause for syncope observed.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 07/22/2022 10:49

  Receipt Acknowledged By:
  07/22/2022 11:46    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care

  08/01/2022 ADDENDUM                   STATUS: COMPLETED
  MRI brain is normal, please let pt know.

    Impression:
     Unremarkable MRI of brain.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 08/01/2022 10:12

  Receipt Acknowledged By:
  08/01/2022 11:37    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care

  08/01/2022 ADDENDUM                  STATUS: COMPLETED
                                                                                APPENDIX 641
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-15 Filed 04/26/24                          Page 183
                                                                          Page 28 of 41 PageID    of 337
                                                                                               7321
  Called patient and he was identified using 2/3 patient identifiers (full name,
  full soc sec number, birth date).

  Mr. Ross was informed that the MRI of his brain that was completed on July 31,
  2022 was normal.

  Patient asks that the order for an ultrasound of his abdomen be re-entered. He
  states that he called to cancel it previously. He was provided with the
  telephone number for Radiology at Mather VA Medical Center.

  Provider to be informed.


  /es/ Shearon Jones, RN
  Nursing Service, Case Manager, Primary Care
  Signed: 08/01/2022 11:45

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Cosigned: 08/01/2022 11:50

  08/01/2022 ADDENDUM                  STATUS: COMPLETED
  Carotid US reordered for full workup of syncope

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 08/01/2022 11:50

  08/17/2022 ADDENDUM                  STATUS: COMPLETED
  Carotid US and CXR nml, please let pt know

   Impression:


     Minimal plaque. No stenosis.


   Impression:
     No radiographic evidence of acute cardiopulmonary disease. No
     pulmonary edema, soft tissue pulmonary nodules, or lobar alveolar
     consolidation/pneumonia appreciated.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 08/17/2022 10:54

  Receipt Acknowledged By:
  08/17/2022 12:37    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care

  08/31/2022 ADDENDUM                   STATUS: COMPLETED
  NMPS normal, please let pt know.
                                                                                   APPENDIX 642
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y        Document 239-15 Filed 04/26/24                     Page 184
                                                                      Page 29 of 41 PageID    of 337
                                                                                           7322

  Interpretation Summary
  The left ventricle is normal in size.
  The ejection fraction estimate is 55-60%.
  The right ventricle is normal in size and function.
  Normal sized atria.
  No valvular heart disease.
  The inferior vena cava appears normal.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 08/31/2022 17:28

  Receipt Acknowledged By:
  09/07/2022 12:55    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care


                    Date/Time: 26 Apr 2022 @ 1325
                     Note Title: Orthopedic 14333
                      Location: No CA Healthcare Sys-Martinez
                     Signed By: ANDERSON,BRETT CARL
                  Co-signed By: ANDERSON,BRETT CARL
              Date/Time Signed: 26 Apr 2022 @ 1332

  Note


  LOCAL TITLE: Orthopedic 14333
  STANDARD TITLE: ORTHOPEDIC SURGERY NOTE
  DATE OF NOTE: APR 26, 2022@13:25 ENTRY DATE: APR 26, 2022@13:25:05
     AUTHOR: ANDERSON,BRETT CARL EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  CHIEF COMPLAINT: "I have pain in my left."

  HISTORY OF PRESENT ILLNESS: the patient is a 62-year-old male here for another
  opinion regarding his left knee. He is having pain on the posterior medial
  aspect of his knee that worsens with long standing or attempts at squatting.
  Once he squats down he has a hard time standing back up again. He has been
  limping around on his long international flights which is causing some
  increased back pain as well. He has had 3 prior arthroscopies with variable
  results. He has had multiple corticosteroid injections over the years with
  very short term improvement recently. He has not been wearing any bracing. He
  would prefer not to have surgery.

  OBJECTIVE: PHYSICAL EXAMINATION

  GENERAL PRESENTATION: normal development, no acute distress NEUROLOGIC:
  grossly intact bilateral sensation and muscle motor exam VASCULAR: warm
  extremities LYMPHATIC: no edema
                                                                             APPENDIX 643
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                         Page 185
                                                                        Page 30 of 41 PageID    of 337
                                                                                             7323

  GENERAL ORTHOPEDIC

  Left knee: No effusion, range of motion 0 to 120? with pain at terminal
  flexion, positive medial joint line tenderness, positive McMurray, normal
  gait, neutral to slight varus alignment, no lateral joint line tenderness

  Left knee x-rays from 1/27/2022 are reviewed which show moderate medial joint
  space narrowing.

  Left knee MRI from 2/26/2022 was also reviewed which shows a complex tear of
  the posterior horn of the medial meniscus with a very thin rim of meniscal
  tissue from 3 prior meniscectomies, moderate chondral thinning in the medial
  compartment with good preservation of the lateral compartment

  ASSESSMENT: Left knee medial meniscal tear with moderate osteoarthritis

  PLAN: We had a long discussion regarding his options to include corticosteroid
  injections versus viscosupplementation versus arthroscopy versus total knee
  arthroplasty versus unicompartmental arthroplasty. He is having enough
  mechanical symptoms warrant arthroscopy may be helpful however he has had 3
  prior arthroscopic surgeries and has a very thin rim of meniscal tissue. I
  counseled him that arthroscopy in the presence of osteoarthritis has very
  variable outcomes. Long-term, a total knee arthroplasty is where he is
  heading. He would like to avoid surgery at this point. If his mechanical
  symptoms worsen, he will contact us to discuss an arthroscopy again. He will
  do anti-inflammatories versus Tylenol in the meantime.

  //signed//

  Brett C. Anderson, MD
  Orthopaedic Surgery - Sports Medicine
  Fellow - AAOS

  BCA/dns voice recognition technology and software, please excuse minor
  grammatical/typographical errors.

  /es/ Brett C Anderson, MD
  Orthopaedic Surgeon - Sports Medicine
  Signed: 04/26/2022 13:32


                     Date/Time: 05 Apr 2022 @ 1620
                      Note Title: Orthopedic Knee 60266
                       Location: No CA Healthcare Sys-Martinez
                      Signed By: MOITOZA,JAMES RAYMOND
                   Co-signed By: MOITOZA,JAMES RAYMOND
               Date/Time Signed: 05 Apr 2022 @ 1633

  Note

                                                                              APPENDIX 644
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                          Page 186
                                                                         Page 31 of 41 PageID    of 337
                                                                                              7324


  LOCAL TITLE: Orthopedic Knee 60266
  STANDARD TITLE: ORTHOPEDIC SURGERY E & M NOTE
  DATE OF NOTE: APR 05, 2022@16:20 ENTRY DATE: APR 05, 2022@16:20:22
     AUTHOR: MOITOZA,JAMES RAYMO EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  Chief complaint:     Medial LEFT knee pain, aggravated by squatting

  History of present illness: 62-year-old flight attendant and service-connected
  US Air Force veteran returns for reevaluation of his left knee problem
  following MRI scan obtained on February 26, 2022. He was seen in consultation
  on December 21, 2021, presenting with a long history of chronic left knee
  problems.
  He had been seen here in orthopedics in 2014 by Dr. Jeffrey Taylor and
  received
  a steroid injection of his knee with some transient benefit. I also
  administered a steroid injection on December 21, 2021 but with only transient
  benefit.
       Mr. Ross is continue to work as a flight attendant but has had to
  change his work schedule because he is no longer able to squat down to help
  with the galley and to reach down to the bottom of the carts. He notes that
  anytime he has to bend down, he has to modify his position to keep his left
  knee extended and this has aggravated pain in his lower back radiating into
  the left SI joint area. He notes that he limps a lot and his wife has remarked
  on this. He has a medial clicking sensation when he pivots and notes that his
  knee will sometimes lock up but he unlocks it by forcibly flexing it and then
  feels a click.

  PHYSICAL EXAM: Patient is a comfortable slender Caucasian male who is in no
  obvious distress or discomfort.

  Left knee: His gait is not particularly antalgic. However he is not able to
  squat. He lacks approximately 10 degrees of flexion compared to the right
  side. He is stable to varus valgus stress. McMurray maneuvers did not cause
  any pain or mechanical clunks.

  MRI scan: February 26, 2022 = there is significant medial compartment
  arthritis and loss of cartilage from medial femoral condyle. There is an
  oblique tear of the posterior horn of the medial meniscus and some flare
  stress reactions in the area of the medial tibial plateau that is centered
  from anterior to posterior.

  Impression:
  1. Posterior horn medial meniscus tear LEFT knee with mechanical symptoms on
  squatting.
  2. Moderate medial compartment osteoarthritis with progression from
  approximately 20% medial joint space narrowing 2013 to 50% in 2021.

  ASSESSMENT: The patient's history of clicking and discomfort with
  squatting are consistent with damage of the posterior horn of the medial
                                                                                APPENDIX 645
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-15 Filed 04/26/24                         Page 187
                                                                         Page 32 of 41 PageID    of 337
                                                                                              7325
  meniscus as the medial femoral condyle "rolls up" onto the meniscus. He
  does
  have medial compartment arthritis and eventually will require an arthroplasty.
  However, I believe he may benefit from an aggressive debridement of the
  posterior horn of the medial meniscus to remove some of these mechanical
  symptoms that he has with squatting. It is definitely too soon to repeat a
  steroid injection at this time.

  PLAN:
  1. Refer the patient to Dr. Brett Anderson for consideration of aggressive
  arthroscopic debridement of posterior horn medial meniscus tear.
  2. Eventual left total knee arthroplasty will be required but hopefully can be
  delayed/deferred for many years after successful arthroscopic debridement.

  /es/ James Raymond Moitoza, M.D.
  Orthopaedic Surgeon
  Signed: 04/05/2022 16:33

  Receipt Acknowledged By:
  04/06/2022 08:23    /es/ Brett C Anderson, MD
                Orthopaedic Surgeon - Sports Medicine
  04/05/2022 17:26    /es/ Brandae M. Johnston, RN, BSN, AA
                Nursing Service, Surg Spec Ortho/SAC


                   Date/Time: 08 Jan 2022 @ 1434
                    Note Title: Radiology Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: SWAN,NEPHTERIA
                 Co-signed By: SWAN,NEPHTERIA
             Date/Time Signed: 08 Jan 2022 @ 1434

  Note


  LOCAL TITLE: Radiology Note
  STANDARD TITLE: RADIOLOGY NOTE
  DATE OF NOTE: JAN 08, 2022@14:34 ENTRY DATE: JAN 08, 2022@14:34:32
     AUTHOR: SWAN,NEPHTERIA       EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED


  RADIOLOGY COVID19 LETTER


   JAN 08, 2022


    ROBERT ALLEN ROSS


                                                                                   APPENDIX 646
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-15 Filed 04/26/24                         Page 188
                                                                        Page 33 of 41 PageID    of 337
                                                                                             7326

   DEAR ROBERT ALLEN ROSS




  We are sending a reminder to inform you that you have a pending xray order(s),
  we are accepting walk-ins, please check into Building 700, Radiology department
  between 8:00am and 4:30pm Monday-Friday. The order will be pending until up to
  80 days of the date of this letter.




  We appreciate your understanding during this time. Please contact your primary
  care doctor with any immediate health concerns or go to the closest emergency
  room.



  Thank you,

  /es/ Nephteria Swan
  Medical Support Assistant
  Signed: 01/08/2022 14:34


                     Date/Time: 21 Dec 2021 @ 0926
                      Note Title: Orthopedics Consult
                       Location: No CA Healthcare Sys-Martinez
                      Signed By: MOITOZA,JAMES RAYMOND
                   Co-signed By: MOITOZA,JAMES RAYMOND
               Date/Time Signed: 21 Dec 2021 @ 1633

  Note


  LOCAL TITLE: Orthopedics Consult
  STANDARD TITLE: ORTHOPEDIC SURGERY CONSULT
  DATE OF NOTE: DEC 21, 2021@09:26 ENTRY DATE: DEC 21, 2021@09:26:41
     AUTHOR: MOITOZA,JAMES RAYMO EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

   *** Orthopedics Consult Has ADDENDA ***

  Chief complaint:      62-year-old flight attendant and service-connected US
  Air Force veteran presents with a long history of chronic left knee problems.
  He was last seen here in orthopedics in 2014 by Dr. Jeffrey Taylor and received
  a steroid injection of his knee with some transient benefit. However recently
                                                                                APPENDIX 647
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y        Document 239-15 Filed 04/26/24                           Page 189
                                                                            Page 34 of 41 PageID    of 337
                                                                                                 7327
  he has been having more problems with limping his knee and particularly problems

  bending his knee. He is not able to ambulate over uneven terrain and
  particularly has difficulty at work while pushing heavy carts on carpet. He is
  not able to squat on his left knee and is difficult for him to don his socks and

  shoes. He has been using a local Voltaren gel which is been somewhat helpful.
  He takes ibuprofen sparingly because it bothers his stomach. He notes that his
  lower back is aggravated when he is limping and long flights are very difficult
  for him. He has a medial clicking sensation when he pivots and notes that his
  knee will sometimes lock up but he unlocks it by forcibly flexing it and then
  feels a click.
       He also feels localized popliteal fossa pain that radiates into the
  proximal mid calf posteriorly, especially painful at night. He wondered if it
  was varicose veins but there are no veins there. He does have low back pain but

  no radiating sciatic pain.

  Past medical history: Patient underwent a partial arthroscopic medial
  meniscectomy of the left knee by Dr. Andrew Ho here in May 2012. Delaminated
  horizontal tear of the medial meniscus was described with the superior flap
  being debrided. He did well for a while after that but is then had steroid
  injections by Dr. Taylor.


  KNEES: Gait: antalgia = minimal antalgia on the left
  Heel walk = normal/moderate antalgia, difficulty extending
  Toe walk = normal bilaterally
  One Leg Squats (R/L) = normal bilaterally
  Varus Thrust (R/L) = normal/mild
  One leg hop/pivot (R/L) = normal/mild pain

  Effusion: None bilaterally

  PROM: (R/L) Extension = 0/0; Flexion = 140/130

  Ligament stress/stability (R/L)
  Varus = stable/stable
  Valgus = stable/stable
  Lachmann = good end stops bilaterally         ant. Drawer =
  Pivot Shift = negative bilaterally

  McMurray stress (R/L) = negative/mild pain no clicks

  Patello-femoral(R/L)
  inhibition/grind = negative bilaterally
  apprehension = negative bilaterally
  Quad strength (R/L) = good/good

  Medial Joint line (R/L)= none/moderate anterior
  Lateral Joint line (R/L)= none/none

                                                                                     APPENDIX 648
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-15 Filed 04/26/24                          Page 190
                                                                          Page 35 of 41 PageID    of 337
                                                                                               7328
  Patellar tendon (R/L)= none/none
  Quad tendon (R/L)= none/none
  Pes anserinus (R/L)= none/none


  PROCEDURE: After verbal discussion and written consent, patient underwent
  an arthrocentesis of the LEFT knee utilizing the superior lateral subpatellar
  approach. Skin was prepped with Betadine, then alcohol. 5 cc of 0.5%
  bupivacaine and 50 mg of Kenalog was injected atraumatically using a 21-gauge 1-
  1/2 inch needle. After approximately 5 minutes patient was reexamined: Patient
  felt comfortable and had no significant pain. Hopping activity was not as
  painful but still had difficulty flexing knee enough to don shoes and socks.

  RADIOGRAPHS: September 15, 2020 = STANDING views bilateral knees in extension of

  flexion, lateral and sunrise view of left knee revealed mild medial joint space
  narrowing with a very small medial spur from the proximal left tibial plateau.

  MRI scan:    February 11, 2012 = complex horizontal and superior medial
  meniscus tear of left knee without significant osteoarthritis.

  IMPRESSION:
  1. Possible recurrent left knee medial meniscus tear
  2. Probable osteoarthritis, medial compartment, left knee

  ASSESSMENT: The patient seems to have been improved for the past 9 years
  following the partial meniscectomy in May 2012. Progressive osteoarthritis is
  expected but is not evident on the radiographs 15 months ago in September 2020.
  Therefore repeat standing x-rays are indicated and a repeat MRI scan to see if
  another arthroscopic procedure might buy him more time before a total knee
  arthroplasty is required.

  PLAN:
  1. Anesthetic and steroid injection left knee = done
  2. STANDING radiographs bilateral knees
  3. MRI scan LEFT knee
  4. Follow-up evaluation after MRI scan available.

  /es/ James Raymond Moitoza, M.D.
  Orthopaedic Surgeon
  Signed: 12/21/2021 16:33

  03/01/2022 ADDENDUM                    STATUS: COMPLETED
  I have personally reviewed the patient's MRI scan of February 26, 2022.
  There
  is evidence of a oblique tear of the posterior horn of the medial meniscus that
  is more obvious on the sagittal views than the coronal. There is also evidence
  of tricompartmental arthritis and stress reactions in the medial tibial plateau
  both the mid aspect as well as in the posterior medial aspect of the medial
  compartment.
       I have also reviewed the patient's STANDING radiographs and compared

                                                                                    APPENDIX 649
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y        Document 239-15 Filed 04/26/24                          Page 191
                                                                           Page 36 of 41 PageID    of 337
                                                                                                7329
  January 27, 2022 to the radiographs 15 months earlier in September 15 of 2020.
  There has been ominous progression of the narrowing of at least 50% more
  narrowing now.

  It is unlikely that a partial meniscectomy, taking out the rest of the posterior

  horn, is going to significantly improve this patient. He is demonstrating the
  expected progression to osteoarthritis. I did inject his knee with
  corticosteroid on December 21, 2021 and hopefully he got some benefit from this.

  I believe that the patient is most likely going to need a total knee
  arthroplasty in the future and I do not believe that arthroscopic intervention
  will prevent this or delay it. She should be seen for follow-up evaluation now
  that his MRI scan has been obtained and the above discussion presented to the
  patient.

  /es/ James Raymond Moitoza, M.D.
  Orthopaedic Surgeon
  Signed: 03/01/2022 10:48


                    Date/Time: 21 Dec 2021 @ 0919
                     Note Title: CONSENT CLINICAL IMED
                      Location: No CA Healthcare Sys-Martinez
                     Signed By: CVIX,IMEDWEBUSER
              Date/Time Signed: 21 Dec 2021 @ 0919

  Note


  LOCAL TITLE: CONSENT CLINICAL IMED
  STANDARD TITLE: CONSENT
  DATE OF NOTE: DEC 21, 2021@09:19:23 ENTRY DATE: DEC 21, 2021@09:19:30
     AUTHOR: CVIX,IMEDWEBUSER EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

   VistA Imaging - Scanned Document
  Signature Informed Consent for Joint - Injection of Joint (Injection of Joint)

  1. Anatomical Location: LEFT knee arthrocentesis and injection with local
  anesthetic and steroid

  2. Informed consent was obtained at 9:16 AM on
    12/21/21.

  The full consent document can be accessed through Vista Imaging.

  3. Patient name: ROSS, ROBERT ALLEN

  4. The patient HAS decision-making capacity.

                                                                                     APPENDIX 650
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y        Document 239-15 Filed 04/26/24                         Page 192
                                                                          Page 37 of 41 PageID    of 337
                                                                                               7330
  5. Surrogate (if applicable):


  6. Reason for the treatment (diagnosis, condition, or indication):
    Painful, worn, injured, or infected joint.

  7. Treatment/procedure: This procedure involves the injection of a joint for
  diagnostic or therapeutic intervention, most commonly using medications for the
  treatment of pain and inflammation.
    Sacramento Mather VAMC


  8. No, neither anesthesia nor moderate sedation will be used in this
  treatment/procedure.
  9. Consent to Blood Products (if applicable):
    It is not expected that blood products will be used in this
  treatment/procedure.

  10. Practitioner obtaining consent: James Raymond Moitoza, MD

  11. Supervising practitioner:

  12. Practitioner(s) performing or supervising treatment/procedure (if
    not listed above):

  13. Witness Name(s):




  14. Comments:




                  *** SCANNED DOCUMENT ***
                  SIGNATURE NOT REQUIRED


   Electronically Filed: 12/21/2021
             by: IMEDWEBUSER CVIX




                      Date/Time: 09 Dec 2021 @ 1148
                       Note Title: Care Management Nursing Note
                                                                                APPENDIX 651
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y        Document 239-15 Filed 04/26/24                             Page 193
                                                                              Page 38 of 41 PageID    of 337
                                                                                                   7331
                      Location: No CA Healthcare Sys-Martinez
                     Signed By: JONES,SHEARON
                  Co-signed By: JONES,SHEARON
              Date/Time Signed: 09 Dec 2021 @ 1312

  Note


  LOCAL TITLE: Care Management Nursing Note
  STANDARD TITLE: CARE MANAGEMENT NURSING NOTE
  DATE OF NOTE: DEC 09, 2021@11:48 ENTRY DATE: DEC 09, 2021@11:48:40
     AUTHOR: JONES,SHEARON      EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  Patient identified using 2/3 patient identifiers (full name, full soc sec
  number, birth date).

  Mr. Ross presents to the clinic to have his blood pressure checked. It is
  123/70 and his pulse is 74. Patient denies having a severe headache, blurred
  vision, nausea, vomiting, drowsiness, confusion and persistent numbness and
  tingling in his hands and feet.

  He was informed that his vitamin B12 is very low and that Vitamin B12 500mcg has

  been mailed to him to take daily. His vitamin D is also very low and Vitamin D
  4000iu was mailed to him to take daily for one month and then 2000iu daily
  thereafter.

  Patient was informed that his hemoglobin A1c, which tells us what your average
  blood sugar has been over the three months prior to the blood draw, is in the
  pre-diabetic range and is 6.0%. He was encouraged to monitor his diet and to
  eat low glycemic foods.

  In addition, he was informed that his LDL is not at goal and was 176 when
  checked. He will complete fasting labs in six months.

  FMLA paperwork was completed by primary care provider and given to patient.

  Provider in to discuss lab results with patient. He was informed that a consult

  to the Orthopedic Department was entered for assessment of left knee pain.
  Patient encouraged to eat a well-balanced, low-fat, low-salt diet.

  Patient verbalized understanding and voiced no other needs.


  /es/ Shearon Jones, RN
  Nursing Service, Case Manager, Primary Care
  Signed: 12/09/2021 13:12

  Receipt Acknowledged By:
                                                                                    APPENDIX 652
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y         Document 239-15 Filed 04/26/24                      Page 194
                                                                        Page 39 of 41 PageID    of 337
                                                                                             7332
  12/09/2021 13:37    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care


                    Date/Time: 02 Dec 2021 @ 1055
                     Note Title: Primary Care Telephone Note
                      Location: No CA Healthcare Sys-Martinez
                     Signed By: DULAI,KAMALPREET
                  Co-signed By: DULAI,KAMALPREET
              Date/Time Signed: 02 Dec 2021 @ 1105

  Note


  LOCAL TITLE: Primary Care Telephone Note
  STANDARD TITLE: PRIMARY CARE TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: DEC 02, 2021@10:55 ENTRY DATE: DEC 02, 2021@10:55:27
     AUTHOR: DULAI,KAMALPREET EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

   *** Primary Care Telephone Note Has ADDENDA ***

  C/C: est care, FMLA paperwork

  HPI: Pt is a 62yo M TAP today to discuss soem concerns:
  1. Needs FMLA paperwork filled out for his L knee. SC for this. s/p 3
  surgeries. Continues to bother him, he is a pilot for AA, and when exacerbated,

  he does need to rest it for 5-7 days. This occurs 2-3 x a year. He would like
  to see ortho and get reimaging as symptoms are worsening. Pain is in back of
  knee as well.

  Ϯ͘ Phlegmy cough since 1/2020, believes he might have had COVID. Has had
  vaccinations. Not hydrating and also has cramps in hands, LE as well. Using
  flonase PRN. NO fever with this, no SOB.

  ϯ͘ L cataract, will f/u with eye clinic

  ϰ͘ Increased stress at workǁŝƚŚŚŝƐƵŶŝŽŶ. Checking BP at home during
  stressful times and always >140/90 per pt.


  PMH:
  Computerized Problem List is the source for the following:

  1. Cough                           09/30/20 BUCAYCAY,ELEANO
  2. Knee pain                        08/26/20 BUCAYCAY,ELEANO
  3. Depressive episode                   08/31/15 WEBER,DIANE ELL
  4. General Anxiety                     08/31/15 WEBER,DIANE ELL
  5. Varicose veins of lower extremity (SNOMED CT    08/04/14 TAYLOR,JEFFERY
  72866009)
                                                                                  APPENDIX 653
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y    Document 239-15 Filed 04/26/24                       Page 195
                                                                    Page 40 of 41 PageID    of 337
                                                                                         7333
  6. Impaired Fasting Glucose (ICD-9-CM 790.21)        04/24/13 DOCTOR,FEDERICO
  7. GERD * (ICD-9-CM 530.81)                   04/24/13 DOCTOR,FEDERICO
  8. DJD, Knee/Lower Leg                      03/04/13 TAYLOR,JEFFERY
  9. CMP INT ORT DEV/GFT NOS                      03/04/13 TAYLOR,JEFFERY
  10. Low Back Pain * (ICD-9-CM 724.2)             08/09/12 DOCTOR,FEDERICO
  11. Hearing loss * (ICD-9-CM 389.9)             05/24/10 DOCTOR,FEDERICO
  12. Hyperlipidemia                        06/30/08 WOO,JOSEPH C
  13. Pain in joint involving lower leg (ICD-9-CM    06/27/08 WOO,JOSEPH C
  719.46)
  14. Tear of lateral cartilage or meniscus of knee, 06/27/08 WOO,JOSEPH C
  current (ICD-9-CM 836.1)



  Medications:
  see med list

  Immunizations:
  PCE IMMUNIZATIONS
  Immunization             Series Date   Facility Reaction Info

  COVID-19 (MODERNA), MRNA, LNP-S,* 2 03/27/2021 El Dorado*
                 1 02/27/2021 EL DORADO *

  INFLUENZA, INJECTABLE, QUADRIVALE*       10/06/2020 MCCLELLAN *

  TD(ADULT) UNSPECIFIED FORMULATION          06/00/2005 No Site

  TDAP                     07/26/2019 MCCLELLAN *

  PCE HEALTH FACTORS SELECTED
        IMMUNIZATION [C]
  08/17/2015 Refused Td / Tdap / Dtap
  07/18/2014 Refused Td / Tdap / Dtap
  04/24/2013 Refused Influenza Immunization
  03/07/2012 Refused Influenza Immunization
         Refused Td / Tdap / Dtap
  02/24/2011 Refused Influenza Immunization
  05/24/2010 Refused Influenza H1n1
         Refused Influenza Immunization
  12/18/2008 Refused Td / Tdap / Dtap

  ROS:
  CONSTITUTIONAL: No weight loss, fever, chills, weakness or fatigue.
  HEENT: Eyes: No visual loss, blurred vision, double vision or yellow sclerae.
  Ears, Nose, Throat: No hearing loss, sneezing, congestion, runny nose or sore
  throat.
  SKIN: No rash or itching.
  CARDIOVASCULAR: No chest pain, chest pressure or chest discomfort. No
  palpitations or edema.
  RESPIRATORY: cough or sputum.
  GASTROINTESTINAL: No anorexia, nausea, vomiting or diarrhea. No abdominal pain
                                                                           APPENDIX 654
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y    Document 239-15 Filed 04/26/24                       Page 196
                                                                    Page 41 of 41 PageID    of 337
                                                                                         7334
  or blood.
  NEUROLOGICAL: No headache, dizziness, syncope, paralysis, ataxia, numbness or
  tingling in the extremities. No change in bowel or bladder control.
  MUSCULOSKELETAL: L knee pain



  Pertinent Labs:
  Collection DT Spec Lab CHOL TRIGLYC HDL LDL-CHO
  08/20/2020 10:36 PLASM [634] 234 H 285 H 38 L 139
  07/25/2019 10:35 PLASM [634] 259 H 277 H 38 L 166 H

  Performing Lab Sites
  [634] SACRAMENTO VA MEDICAL CENTER [CLIA# 05D0988241]
       10535 HOSPITAL WAY MATHER, CA 95655-4200
  SCL1 - Partial CBC
  Collection DT Spec Lab WBC HGB HCT MCV MCHC PLT
  08/20/2020 10:35 BLOOD [634] 5.1 15.7 46.7 89.0 33.6 307

  Performing Lab Sites
  [634] SACRAMENTO VA MEDICAL CENTER [CLIA# 05D0988241]
       10535 HOSPITAL WAY MATHER, CA 95655-4200
  SCL1 - Lab Cum Selected 1
  Collection DT Spec Lab NA      K CL CO2 CALCIUM
  08/20/2020 10:35 PLASM [634] 134 L 4.1 99 24 9.3

  Performing Lab Sites
  [634] SACRAMENTO VA MEDICAL CENTER [CLIA# 05D0988241]
      10535 HOSPITAL WAY MATHER, CA 95655-4200

  SCL2 - Lab Cum Selected 2
  Collection DT Spec Lab GLUCOSE BUN CREAT eGFR
  08/20/2020 10:35 PLASM [634] 117 19 1.10 >60
  07/26/2019 14:54 PLASM [634] 100 21 1.03 >60

  Performing Lab Sites
  [634] SACRAMENTO VA MEDICAL CENTER [CLIA# 05D0988241]
      10535 HOSPITAL WAY MATHER, CA 95655-4200

  SCL3 - Lab Cum Selected 3
  Collection DT Spec Lab PROTEIN ALBUMIN T. BIL D BILI ALK PHO AST
  ALT
  08/20/2020 10:35 PLASM [634] 7.3 4.5 0.6 <0.1 L 62 22
  21

  Performing Lab Sites
  [634] SACRAMENTO VA MEDICAL CENTER [CLIA# 05D0988241]
       10535 HOSPITAL WAY MATHER, CA 95655-4200
  HbA1c-last 3
  Collection DT Spec Lab HGBA1c
  07/26/2019 14:54 BLOOD [634] 5.9 H

                                                                           APPENDIX 655
